 Case 21-40268-drd13      Doc 175 Filed 04/06/23 Entered 04/06/23 17:09:02                       Desc
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MISSOURI
IN RE:          MICHAEL LEE MOSLEY                     )
                                                       )
                                          Debtor       )       Case No. 21-40268

         RESPONSE TO CLAY COUNTY COLLECTOR’S MOTION TO DISMISS

         COMES NOW Debtor, Michael Lee Mosley, by and through Counsel of record, and for
his Response to the Motion to Dismiss filed by Clay County Collector and states that Debtor
believed he did not owe any property taxes when he surrendered his vehicle. Debtor will be
taking a copy of his Confirmed Chapter 13 Plan to Clay County to determine the amount of his
liabilities.
         WHEREFORE, Debtor files this Response to the Clay County Collector’s Motion to
Dismiss.
 Dated: 04/06/2023                               Respectfully submitted,
                                                 W M Law

                                                 /s/ Ryan A. Blay
                                                 Ryan A. Blay, MO KS001066
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                                                 ATTORNEY FOR DEBTOR

                                      CERTIFICATE OF SERVICE
         I hereby certify that on April 6, 2023, the foregoing was delivered via e-mail to the
parties listed below that are registered to receive electronic filings on ECF, and regular first
class, postage prepaid to the parties listed below that are not registered to receive electronic
filings on ECF.

Court Address: U.S. Bankruptcy Court, 400 E. 9th Street, Room 1510, Kansas City, MO 64106.

                                                 /s/ Ryan A. Blay




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